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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )           4:03CR3014-1
                                         )
             Plaintiff,                  )
                                         )           MEMORANDUM
vs.                                      )           AND ORDER
                                         )
HA T.T. NGUYEN,                          )
                                         )
             Defendant.                  )


       Ms. Nguyen has submitted a letter to the Clerk of the Court requesting the
appointment of counsel. This letter is apparently in response to Ms. Nguyen’s appeal
of the denial of her 2255 motion. Since that matter is pending before the Eighth
Circuit Court of Appeals,

      IT IS ORDERED that the motion (filing 321) is denied in this court, but the
Clerk of this Court shall forward the motion to the Clerk of the Court of Appeals for
such action as the Court of Appeals may deem appropriate.

      DATED this 16th day of June, 2005.

                                             BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
